                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )           Case No. 3:98-cr-00038-1
                                               )           Judge Nixon
                                               )
EBEN PAYNE                                     )
                                               )


                                           ORDER

       The Court hereby SCHEDULES a status conference on this matter on January 18,

2013, at 10:00 a.m.

       It is so ORDERED.

       Entered this __7th ___ day of January, 2013.



                                                      ____________________________________
                                                      JOHN T. NIXON, SENIOR JUDGE
                                                      UNITED STATES DISTRICT COURT




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